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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

                                                   CASE NO.:
    ------------------------------------------------------------
    ZUFFA, LLC d/b/a Ultimate Fighting
    Championship,

    Plaintiff,
                                                                   .
                      v.

    RONALD C. OAKES and TINA M. OAKES,
    Individually, and as officers, directors,
    shareholders and/or principals of GYPSY MOON
    VAPORS, INC., d/b/a GYPSY MOON VAPIN
    BREWS,

    and

    GYPSY MOON VAPORS, INC., d/b/a GYPSY
    MOON VAPIN BREWS,

    Defendants.
    -----------------------------------------------------------


                                                 COMPLAINT

             Plaintiff, ZUFFA, LLC d/b/a Ultimate Fighting Championship (hereinafter

    “Plaintiff”), by and through its undersigned attorneys, complaining of the Defendants

    herein respectfully sets forth and alleges, as follows:

                                      JURISDICTION AND VENUE

             1. This is a civil action seeking damages for violation of 47 U.S.C. §§ 553 or

    605, et seq. and for copyright infringement under the copyright laws of the United States.

    (17 U.S.C. §101, et seq.).
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           2. This Court has jurisdiction under 17 U.S.C. §101, et seq. and 28 U.S.C.

    Section §1331, which states that the district courts shall have original jurisdiction of all

    civil actions arising under the Constitution, laws, or treaties of the United States; and 28

    U.S.C. Section §1338(a) (copyright).

           3. Upon information and belief, venue is proper in this Court because, inter alia,

    a substantial part of the events or omissions giving rise to the claim occurred within

    Broward County, which is within the Southern District of Florida (28 U.S.C. § 1391(b)

    and 28 U.S.C. § 89(c)).

           4. This Court has personal jurisdiction over the parties in this action. Defendants

    to this action had or have an agent or agents who has or have independently transacted

    business in the State of Florida and certain activities of Defendants giving rise to this

    action took place in the State of Florida; more particularly, Defendants acts of violating

    federal laws and the proprietary rights of Plaintiff, as distributor of the satellite

    programming transmission signals, took place within the State of Florida. Moreover,

    upon information and belief, Defendants have their principal place of business within the

    State of Florida; thus, this Court has personal jurisdiction over Defendants.

                                         THE PARTIES

           5. The Plaintiff is a Nevada Limited Liability Company with its principal place

    of business located at 6650 S. Torrey Pines Drive, Las Vegas, Nevada 89118.

           6. Plaintiff is the owner of the UFC 211 Broadcast, including all undercard

    matches and the entire television Broadcast, scheduled for May 13, 2017, via closed


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    circuit television and via encrypted satellite signal (hereinafter referred to as the

    “Broadcast”).

           7. Upon information and belief the Defendant, RONALD C. OAKES, resides at

    5510 S.W. 54th Street, Fort Lauderdale, FL 33314.

           8. Upon information and belief the Defendant, TINA M. OAKES, resides at

    5510 S.W. 54th Street, Fort Lauderdale, FL 33314.

           9. Upon information and belief the Defendants, RONALD C. OAKES and TINA

    M. OAKES, are officers, directors, shareholders and/or principals of GYPSY MOON

    VAPORS, INC., d/b/a GYPSY MOON VAPIN BREWS located at 16642 Sheridan

    Street, Pembroke Plains, FL 33028.

           10. Upon information and belief the Defendant, GYPSY MOON VAPORS,

    INC., is a domestic corporation licensed to do business in the State of Florida.

           11.      The Registered Agent for GYPSY MOON VAPORS, INC. is TINA M.

    OAKES located at 5510 S.W. 54th Street, Fort Lauderdale, FL 3314.

           12. Upon information and belief the Defendants, RONALD C. OAKES and

    TINA M. OAKES, were the individuals with supervisory capacity and control over the

    activities occurring within the establishment known as GYPSY MOON VAPIN BREWS,

    located at 16642 Sheridan Street, Pembroke Plains, FL 33028 on May 13, 2017.

           13. Upon information and belief the Defendants, RONALD C. OAKES, TINA

    M. OAKES and GYPSY MOON VAPORS, INC., received a financial benefit from the

    operations of GYPSY MOON VAPORS, INC., d/b/a GYPSY MOON VAPIN BREWS,


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    on May 13, 2017.

           14. Upon information and belief, Defendants, RONALD C. OAKES and TINA

    M. OAKES, were the individuals with close control over the internal operating

    procedures and employment practices of GYPSY MOON VAPORS, INC., d/b/a GYPSY

    MOON VAPIN BREWS, on May 13, 2017.

           15. Upon information and belief, Defendant, GYPSY MOON VAPORS, INC.,

    d/b/a GYPSY MOON VAPIN BREWS, located at 16642 Sheridan Street, Pembroke

    Plains, FL 33028, had a capacity for 1-50 people on May 13, 2017.

           16. Upon information and belief, Defendant, GYPSY MOON VAPORS, INC.,

    d/b/a GYPSY MOON VAPIN BREWS, is a business entity, having its principal place of

    business at 16642 Sheridan Street, Pembroke Plains, FL 33028.

           17. Upon information and belief, Defendants, RONALD C. OAKES and TINA

    M. OAKES, advertised for the exhibition of Plaintiff’s Broadcast within the commercial

    establishment known as GYPSY MOON VAPIN BREWS.

           18.   Upon information and belief, Defendant, GYPSY MOON VAPORS, INC.,

    advertised for the exhibition of Plaintiff’s Broadcast within the commercial establishment

    known as GYPSY MOON VAPIN BREWS.

                                            COUNT I

           19.   Plaintiff hereby incorporates by reference all of the allegations contained in

    paragraphs “1" through “18,” inclusive, as though fully set forth herein .

           20. Plaintiff is the owner of the UFC 211 Broadcast, including all undercard


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    matches and the entire television Broadcast, scheduled for May 13, 2017, via closed

    circuit television and via encrypted satellite signal (hereinafter referred to as the

    “Broadcast”).

           21. Plaintiff’s Broadcast originated via satellite uplink and was subsequently

    re-transmitted to cable systems and satellite companies via satellite signal.

           22.      Plaintiff, or their authorized agent for commercial distribution, for a

    licensing fee, entered into licensing agreements with various entities in the State of

    Florida, allowing them to publicly exhibit the Broadcast to their patrons. Upon payment

    of the appropriate fees, Plaintiff authorizes and enables subscribers to unscramble and

    receive the satellite Broadcast.

           23.    The Broadcast was also available for non-commercial, private viewing

    through Plaintiff or its authorized online platforms for residential Pay-Per-View purchase

    via the internet.     Owners of commercial establishments wishing to use Plaintiff’s

    Broadcasts for their own commercial gain can surreptitiously gain access to Plaintiff’s

    Broadcasts by purchasing the programming online, without proper authorization, at

    residential rates, which are greatly discounted compared to the rates required for

    commercial entities.

           24.   In order to view the Broadcast through a website intended for private,

    non-commercial viewing, an individual purchaser was subject to the copyright language

    contained therein which expressly stated that the “unauthorized reproduction or

    distribution of the copyrighted work is illegal.”


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           25. Upon information and belief, with full knowledge that the Broadcast was not

    to be received and exhibited by entities unauthorized to do so, the Defendants and/or their

    agents, servants, workmen or employees, without paying Plaintiff a fee or entering into an

    agreement with Plaintiff or its authorized agent for commercial exhibition, unlawfully

    intercepted, received and/or de-scrambled Plaintiff’s satellite signal and did exhibit the

    Broadcast at the above address at the time of its transmission willfully and for purposes of

    direct or indirect commercial advantage or private financial gain.

           26. Upon information and belief, Plaintiff alleges that Defendants effected

    unauthorized interception and receipt of Plaintiff’s Broadcast by ordering programming

    for residential use and subsequently displaying the programming in the commercial

    establishment known as GYPSY MOON VAPIN BREWS for commercial gain without

    authorization, or by such other means which are unknown to Plaintiffs and known only to

    Defendants.

           27.     Upon information and belief, Defendants and/or their agents, servants,

    workmen and/or employees used an illegal satellite receiver, intercepted Plaintiff’s signal

    and/or used a device to intercept Plaintiff’s Broadcast, which originated via satellite

    uplink and then re-transmitted via satellite or microwave signal to various cable and

    satellite systems. There are multiple illegal methods of accessing the Broadcast, including

    but not limited to (1) splicing an additional coaxial cable line or redirecting a wireless

    signal from an adjacent residence into a business establishment; (2) commercially

    misusing cable or satellite by registering same as a residence when it is, in fact, a


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    business; or (3) taking a lawfully obtained box or satellite receiver from a private

    residence, into a business.    In addition, emerging technologies, such as broadband or

    internet Broadcast, as well as “slingbox” technology (which allows a consumer to literally

    sling the Broadcast from his personal home cable or satellite systems into his computer),

    can allow commercial misuse of residential broadcasting feeds through the internet from

    anywhere in the world. Each of these methods would allow Defendants to access the

    Broadcast unlawfully. Prior to discovery, Plaintiff is unable to determine the manner in

    which Defendants obtained the Broadcast.           However, it is logical to conclude that

    Defendants utilized one of the above described methods or another to intercept and

    exhibit the Broadcast without entering into an agreement to obtain it lawfully from

    Plaintiff, the legal rights holder for commercial exhibition.

            28. 47 U.S.C. §605 (a) prohibits the unauthorized reception and publication or

    use of communications such as the transmission for which Plaintiff had the distribution

    rights thereto.

            29. By reason of the aforementioned conduct, the aforementioned Defendants

    willfully violated 47 U.S.C. §605 (a).

            30.   By reason of the aforementioned Defendants’ violation of 47 U.S.C. §605

    (a), Plaintiff has a private right of action pursuant to 47 U.S.C. §605.

            31. As a result of the aforementioned Defendants’ willful violation of 47 U.S.C.

    §605 (a), Plaintiff is entitled to damages, in the discretion of this Court, under 47 U.S.C.

    §605 (e)(3)(C)(i)(II) and (ii) of up to the maximum amount of $110,000.00 as to each


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    Defendant.

              32. Pursuant to 47 U.S.C. §605, Plaintiff is also entitled to an award of full costs,

    interest and reasonable attorney’s fees.

                                               COUNT II

              33. Plaintiff hereby incorporates paragraphs “1" through “18" and “20" through

    “27,” inclusive, as though fully set forth herein.

              34. Upon information and belief, with full knowledge that the Broadcast was not

    to be received and exhibited by entities unauthorized to do so, the Defendants and/or their

    agents, servants, workmen or employees did exhibit the Broadcast at the above-captioned

    address at the time of its transmission willfully and for purposes of direct or indirect

    commercial advantage or private financial gain.

              35.   47 U.S.C. §553 prohibits the unauthorized reception, interception and

    exhibition of any communications service offered over a cable system such as the

    transmission for which Plaintiff had the distribution rights thereto.

              36.   Upon information and belief, the Defendants individually, willfully and

    illegally intercepted said Broadcast when it was distributed and shown by cable television

    systems.

              37.    By reason of the aforementioned conduct, all of the aforementioned

    Defendants willfully violated 47 U.S.C. §553, thereby giving rise to a private right of

    action.

              38.   As a result of the aforementioned Defendants’ violation of 47 U.S.C. §553,


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    Plaintiff is entitled to damages, in an amount in the discretion of this Court, of up to the

    maximum amount of $60,000.00, plus the recovery of full costs, interest and reasonable

    attorney’s fees.

                                            COUNT III

           39. Plaintiff hereby incorporates paragraphs “1" through “18" and “20" through

    “27," and “34,” inclusive, as though fully set forth herein.

           40. Plaintiff is the owner of the copyright to the UFC 211 Broadcast, including

    all undercard matches and the entire television Broadcast, scheduled for May 13, 2017,

    via closed circuit television and via encrypted satellite signal. See U.S. Certificate of

    Copyright Registration Nos. PA 2-056-099 and PA 2-056-095, attached hereto as Exhibit

    “A.” The Broadcast originated via satellite uplink and was subsequently re-transmitted

    to cable systems and satellite companies via satellite signal.

           41. As a copyright holder of the rights to the UFC 211 Broadcast, Plaintiff has

    rights to the Broadcast, including the right of distribution as well as the licensing to

    commercial establishments for the right to exhibit same.

           42. Defendants never obtained the proper authority or license from Plaintiff, or

    its authorized agent for commercial distribution, to publicly exhibit the UFC 211

    Broadcast on May 13, 2017.

           43.    Upon information and belief, with full knowledge that the UFC 211

    Broadcast can only be exhibited within a commercial establishment by the purchasing of

    a license from Plaintiff, or its authorized agent for commercial distribution, Defendants


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     and/or their agents, servants, workmen or employees illegally intercepted the Broadcast

     and exhibited same in their commercial establishment on May 13, 2017.

            44. Specifically, upon information and belief, the Defendants and/or their agents,

     servants, workmen and employees unlawfully obtained the UFC 211 Broadcast, enabling

     Defendants to publicly exhibit the Broadcast without paying the appropriate licensing fee

     to Plaintiff, or its authorized agent for commercial distribution.

            45. By reason of the aforementioned conduct, the Defendant willfully violated

     17 U.S.C. §501(a).

            46. By reason of the aforementioned Defendants’ violation of 17 U.S.C. §501(a),

     Plaintiff has a private right of action pursuant to 17 U.S.C. §501 (b).

            47. As a result of Defendants’ willful infringement of Plaintiff’s copyrights and

     exclusive rights under copyright, Plaintiff is entitled to damages, in the discretion of this

     Court, under 17 U.S.C. §504(c)(1) and 504(c)(2), of up to the maximum amount of

     $150,000.00.

            48. Plaintiff is further entitled to its attorney’s fees and costs pursuant to 17

     U.S.C. §505.

            WHEREFORE, Plaintiff respectfully requests that judgment be entered in its

     favor and against each of the aforementioned Defendants granting to Plaintiff the

     following:


                    (a) Declare that Defendants’ unauthorized exhibition of the May 13, 2017,

                    UFC 211 Broadcast, violated the Federal Communications Act and that


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                such violations were committed willfully and for purposes of Defendants’

                direct or indirect commercial advantage or for private financial gain.

                (b)   On the first cause of action, statutory penalties in an amount, in the

                discretion of this Court, of up to the maximum amount of $110,000.00 as

                to each Defendant for their willful violation of 47 U.S.C. §605 (a); or

                (c) On the second cause of action, statutory penalties in an amount, in the

                discretion of this Court, of up to the maximum amount of $60,000.00 as to

                each Defendant for their violation of 47 U.S.C. §553.

                (d) Attorney’s fees, interest, costs of suit as to each Defendant pursuant to

                47 U. S. C. § 605 (e).

                (e) On the third cause of action, statutory penalties in an amount, in the

                discretion of this Court, of up to the maximum amount of $150,000.00 as

                to each Defendant pursuant to §504(c)(1) and §504(c)(2) for their violation

                of 17 U.S.C. §501(a).

                (f) Attorney’s fees, interest, costs of suit as to each Defendant pursuant to

                47 U. S. C. § 605 (e)(3) (B) (iii) and/or §553 (c)(2)(C).

                (g) Attorneys’ fees, interest, costs of suit as to each Defendant pursuant to

                17 U.S.C. §505, together with such other and further relief as this Court

                may deem just and proper.

                                           ZUFFA, LLC

                                          By: /s/Alan D. Danz
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